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                    IN THE UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION

JAMES E. GIRARDS, ET AL.,                §
                                         §
             Plaintiffs,                 §
                                         §
V.                                       §          No. 3:13-cv-2695-BN
                                         §
KLEIN FRANK, P.C.,                       §
                                         §
             Defendant.                  §

                                FINAL JUDGMENT

      This judgment is entered pursuant to the Court’s Memorandum Opinion and

Order entered this same date.

      It is ORDERED, ADJUDGED, and DECREED that Plaintiffs James E. Girards

and James E. Girards, P.C. d/b/a The Girards Law Firm are awarded $5,000.00 on

their request for a recovery under quantum meruit as the reasonable value of the work

performed by James E. Girards and James E. Girards, P.C. d/b/a The Girards Law

Firm for the benefit of David Dawson and Klein Frank, P.C. in connection with the

Dawson v. Fluor lawsuit, to be paid by Klein Frank, P.C. to James E. Girards, P.C.

d/b/a The Girards Law Firm, with postjudgment interest from February 5, 2015 at a

rate of 0.47%, for which execution may issue.

      The Court finds for Defendant Klein Frank, P.C. on the claims of Plaintiffs

James E. Girards and James E. Girards, P.C. d/b/a The Girards Law Firm for

declaratory judgment and breach of contract and finds for Defendant Klein Frank,

P.C., in part, on Klein Frank, P.C.’s counterclaim against James E. Girards and James

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E. Girards, P.C. d/b/a The Girards Law Firm., as set out in the Court’s February 5,

2016 Memorandum Opinion and Order. Specifically, the Court finds that Klein Frank,

P.C. had the right to terminate James E. Girards and James E. Girards, P.C. d/b/a The

Girards Law Firm, was justified in terminating James E. Girards and James E.

Girards, P.C. d/b/a The Girards Law Firm, and terminated James E. Girards and

James E. Girards, P.C. d/b/a The Girards Law Firm for cause based on James E.

Girards’s unauthorized disclosure of confidential information.

      Costs of court are taxed against Defendant Klein Frank, P.C.

      DATED: February 5, 2016



                                       _________________________________________
                                       DAVID L. HORAN
                                       UNITED STATES MAGISTRATE JUDGE




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